      Case:13-27310-TBM Doc#:638 Filed:02/04/16                                                Entered:02/05/16 07:56:37 Page1 of 1
                             UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

                                                       Minutes of Proceeding/Minute Order

 Date: February 4, 2016                                                                       Honorable Thomas B. McNamara, Presiding
                                                                                                   Anne E.R. Tunnell, Law Clerk


 In re: Samuel Jesse Christian Morreale                                                                              Case No. 13-27310 TBM

                                                                                                                                         Chapter 7
 Debtor(s).
                    Appearances
 Trustee            Tom H. Connolly                                                      Counsel     Michael J. Pankow
 Debtor(s)                                                                               Counsel     Patrick D. Vellone
 Creditor           2001-SIP-1 CRE/CADC Venture, LLC                                     Counsel     Craig K. Schuenemann
 Creditor           City & County of Denver                                              Counsel     James Kaplan (by phone)

Proceedings: Non Evidentiary Hearing on Debtor’s Amended Motion to Pay Claims in Full (Docket
No. 605) and To Dismiss Chapter 7 Case (Docket No. 607) and Objections thereto

           [X] The parties presented argument to the Court.

Orders:
           [X] Debtor’s Motion to Pay Claims in Full and to Dismiss Chapter 7 Case filed on December 3,
           2015 (Docket Nos. 590 and 591) is DENIED as MOOT as it has been superseded by the
           Debtor’s Amended Motion to Pay Claims in Full (Docket No. 605), the motion currently before
           the Court.
           [X] Matter taken under advisement.

Date: February 4, 2016                                                                   FOR THE COURT:
                                                                                         Kenneth S. Gardner, Clerk of Bankruptcy Court
 BY THE COURT:
                                                                                          y:: ________
                                                                                         By:  _______________________________________
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 Thomas B. McNamara,
 United States Bankruptcy Judge
                          Jud
                            dge




           ‫܈‬This hearing is considered evidentiary for statistical reporting purposes only.
